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                 UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION
                               1:21-cr-00199-ELR-CCB
                                  USA v. Kwak et al
                             Honorable Christopher C. Bly

                Minute Sheet for proceedings held In Open Court on 09/09/2022.


   TIME COURT COMMENCED: 9:00 A.M.
   TIME COURT CONCLUDED: 9:03 A.M.                TAPE NUMBER: Zoomgov.com
   TIME IN COURT: 00:03                           DEPUTY CLERK: James Jarvis
   OFFICE LOCATION: Atlanta

DEFENDANT(S):     [1]Paul Kwak NOT Present at proceedings
                  [2]Michelle Kwak NOT Present at proceedings
ATTORNEY(S)       Warren Lietz representing Michelle Kwak
PRESENT:          Page Pate representing Paul Kwak
                  Michael Qin representing USA
PROCEEDING
                  Status Conference
CATEGORY:
MOTIONS RULED     DFTS #1 and #2 [80] Motion for Extension of Time GRANTED
ON:
MINUTE TEXT:      The Court held a status conference. The Court GRANTED the parties'
                  joint motion for extension of time to file pretrial motions. Written order
                  to follow.
